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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                           CASE NO.: 1:21cv24141

   DEBBIE LOUISSAINT,

           Plaintiff,

   vs.

   MIAMI-DADE COUNTY, JUAN PEREZ,
   an individual, and ALAN JENKINS,
   an individual.

         Defendant.
   ___________________________________/

   THE STATE OF FLORIDA:
   To All and Singular the Sheriffs of said State:

           YOU ARE HEREBY COMMANDED to serve this Summons, a copy of the Complaint
   or Petition in this action, and a copy of the Requests for Production on Defendant:

                                               ALAN KENKINS
                                          MIAMI-DADE COUNTY
                                   c/o MAYOR DANIELLA LEVINE CAVA
                                      111 N.W. 1ST AVENUE, 25TH FLOOR
                                               Miami, FL 33128

           Each Defendant is required to serve written defenses to the Complaint or Petition on Plaintiff’s
   attorney, to wit:
                                        Toussaint Cummings, Esq.
                                               FairLaw Firm
                                      135 San Lorenzo Ave., Ste. 770
                                          Coral Gables, FL 33146
                                              (305) 230-4884
                                      toussaint@fairlawattorney.com

   within 20 days after service of this Summons on the Defendant, exclusive of the day of service, and to file
   the original of the defenses with the Clerk of this Court either before service on Plaintiff’s attorneys or
   immediately thereafter. If Defendant fails to do so, a default will be entered against that Defendant for the
   relief demanded in the Complaint or Petition.

           WITNESS my hand and the Seal of said Court on this _________________, 2021.

                                                             HARVEY RUVIN, CLERK OF COURT
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                                                              By: ________________________
                                                                     Deputy Clerk

                                                  IMPORTANT

   A lawsuit has been filed against you. You have 20 calendar days after this summons is served on you to file
   a written response to the attached complaint with the Clerk of this Court. A phone call will not protect
   you; your written response, including the case number given above and the names of the parties, must be
   filed if you want the Court to hear your side of the case. If you don not file your response on time, you
   may lose the case, and your wages, money and property may thereafter be taken without further warning
   from the Court. There are other legal requirements. You may want to call an attorney right away. If you
   do not know any attorney, you may call an attorney referral service or legal aid office (listed in the phone
   book.)

                                                 IMPORTANTE

   Usted ha sido demandado legalmente. Tiene 20 dias contados a partir del recibo de esta notificacion para
   contestar la demanda adjunta, por escrito, y presentaria ante este tribunal. Una llamada telefonica no lo
   protegra. Si usted desea que el tribunal cons Fidere su defensa, debe presentar su respuesta por escrito,
   incluyendo el numero de caso y los nombres de las partes intersadas, o privado de sus derechos, sin previo
   aviso del tribunal. Existen otros requisitos legales. Si lo desea, puedo usted consultar a un abogado
   inmediatamente. Si no conoce a un abogado, puedo llamar a una de las oficinas de assistencia legal que
   aparencen en la guia telefonica. Si desea responder a la demanda por su cuenta, al mismo tiempo en que
   presenta su respuesta ante el tribunal debera usted enviar por correo o entregar una copia de su respuesta
   a la persona demoninada abajo como "Plaintiff/Plaintiff Attorney" (Demandante o Abogado del
   Demandante).

                                                  IMPORTANT

            Des poursuites judiciares ont ete entreprises contre vous. Vous avex 20 dours consecutifs a partir
   de la date de l'assignation de cette citation pour deposer une reponse ecrite a la plainte ci-jointe aupres de
   ce tribunal. Un simple coup de telephone est insuffisant pour vous proteger. Vous etes oblige de deposer
   votre reponse ecrite, avec mention du numero de dossier ci-dessus et du nom des parties nommees ici, si
   vous souhaitez que le tribunal entende votre cause. Si vous ne deposez pas votre reponse ecrite dans le
   delai requis, vous risquez de perdre la cause ainsi que votre salaire, botre argent., et vos biens peuvent etre
   saisis par la suite, sans aucun preavis ulterieru du tribunal. II y a d'autres obligations juridiques et bous
   pouvez requerir les services immdiats d'un avocat. Si vous ne connaissez pas d'avocat, vous pourriez
   telephoner a un service de reference d'avocats ou a un bureau d'assistance juridique (figurant a l'annuarie
   de telephones). Si vous choisissez de deposer vous-meme une reponse ecrite, il vous faudra egalement, en
   meme temps que cette formalite, faire parvenir ou expendier une copie de votre reponse ecrite au
   "Plaintiff/Plaintiff Attorney" (Plaignant ou a son avocat) nomme ci-dessous.

                            AMERICANS WITH DISABILITIES ACT OF 1990

          IN ACCORDANCE WITH THE AMERICANS WITH DISABILITIES ACT OF 1990,
   PERSONS NEEDING A SPECIAL ACCOMMODATION TO PARTICIPATE IN THIS
   PROCEEDING SHOULD CONTACT THE COURT ADA COORDINATOR ON LATER THAN
   SEVEN (7) DAYS PRIOR TO THE PROCEEDING. TELEPHONE THE COURT FOR
   ASSISTANCE AT (305) 305-349-7175 or (305) 349-7174; HEARING IMPAIRED CALL TDD AT (305)
   375-2007.
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